               Exhibit A




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                                                                                      Mailing Address:
                                                                                      P.O. Box 27255,
                                                                                      Raleigh, NC 27611
                                                                                      (919) 814-0700 or
                                                                                      (866) 522-4723
                                                                                      Fax: (919) 715-0135


                                        February 24, 2022

VIA EMAIL

John R. Wallace                                      James G. Exum, Jr.
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Robert F. Orr
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orr@rforrlaw.com

Re:    Candidate Challenges Rendered Invalid by Redistricting Court Order

Dear Counsel:

I am writing to you in your capacity as counsel for the 13 North Carolina voters who filed
challenges in January 2022 and February 2022 to the candidacy of Madison Cawthorn for North
Carolina’s 13th Congressional District.

After your challenges were initially filed, the Superior Court of North Carolina, Wake County,
issued a stay of candidate challenges for congressional and legislative offices “until final
resolution” of redistricting litigation in the North Carolina courts, N.C. League of Conservation
Voters, et al. v. Hall, et al., No. 21 CVS 15426 (Wake Cty. Super. Ct.), and Harper, et al. v.
Hall, et al., No. 21 CVS 500085 (Wake Cty. Super. Ct.).

On February 23, 2022, that litigation was finally resolved, when the Superior Court ordered
remedial legislative and congressional maps to be used for the 2022 primary and general
elections in North Carolina. The remedial congressional map moves the 13th Congressional
District to a different part of the state—covering Johnston County and parts of Wake, Harnett,
and Wayne Counties—where none of the challengers reside, according to the challenges and
affidavits the challengers filed with the State Board of Elections.

Under a December 8, 2021 order of the Supreme Court of North Carolina in the same
redistricting litigation, any candidate who filed for office during the December 2021 filing period



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and had their filing accepted by the board of elections “will be deemed to have filed for the same
office under the new election schedule for the May 2022 primary . . . .” The challenged
candidate, Mr. Cawthorn, filed in December 2021 for the 13th Congressional District and had
that filing accepted by the State Board of Elections. He is therefore currently a candidate for the
newly redrawn 13th Congressional District, unless he withdraws from that contest. A
congressional candidate need not be a resident of the district they seek to represent, but a
challenger must be a resident of that district to file a proper challenge to a congressional
candidate.

Under N.C.G.S. § 163-127.1, an eligible “Challenger” is “[a]ny qualified voter registered in the
same district as the office for which the candidate has filed or petitioned.” None of the
challengers are qualified, registered voters in the current 13th Congressional District, which is
the office for which the challenged candidate has filed.

Accordingly, because the 13 candidate challenges filed by your clients are no longer valid under
North Carolina law, the State Board of Elections will not proceed to appoint a panel to hear these
challenges, pursuant to N.C.G.S. § 163-127.3(2).

Sincerely,



Katelyn Love
General Counsel




CC:    Joshua Howard, 115 ½ West Morgan Street, Raleigh, NC 27601, jhoward@ghz-law.com
       Counsel for Madison Cawthorn




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